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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 FRANCESCA VIOLA                              )         Case No. 20-1439
                                              )
         Plaintiff,                           )
 v.                                           )         JURY TRIAL DEMANDED
                                              )
 JOSHUA BENTON                                )
                                              )
 And                                          )
                                              )
 PRESIDENT AND FELLOWS OF                     )
 HARVARD COLLEGE (HARVARD                     )
 CORPORATION)                                 )

         Defendants

                                COMPLAINT - CIVIL ACTION
       Plaintiff, Francesca Viola (“Viola”) by and through undersigned counsel, hereby states as

follows in support of her Complaint against Defendants Joshua Benton (“Defendant Benton”) and

President and Fellows of Harvard College (“Defendant Harvard”) (Collectively, “Defendants”).

                                              Parties

       1.       Viola is an award winning, respected journalist and journalism professor whose

career spans more than twenty years. She is an individual and resident of Fort Washington,

Pennsylvania, in the County of Montgomery, and has been at all relevant times referenced herein.

       2.       Defendant Benton, an individual, is a journalist and the founder and director of the

Nieman      Journalism   Lab    (“Nieman    Lab”)     which   operates     a   website   located   at

https://www.niemanlab.org and is owned by the Nieman Foundation for Journalism at Harvard

University. The Nieman Lab holds itself out as “an attempt to help journalism figure out its future

in an Internet age.” https://www.niemanlab.org/about/. At all times relevant herein, Defendant

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Benton was an employee of Defendant Harvard and was acting within the scope of his

employment. Upon information and belief, Defendant Benton is a resident of Massachusetts and

has been at all relevant times referenced herein.

        3.      Defendant Harvard is a private university based in Cambridge, Massachusetts and

has been at all relevant times referenced herein.

                                       Venue and Jurisdiction

        4.      This Court possesses federal diversity under 28 U.S.C. § 1332 as the parties are

diverse in citizenship and the amount in controversy exceeds $75,000.

        5.      Venue is proper in the Eastern District of Pennsylvania pursuant to 28

U.S.C. § 1391(b)(2) because Defendant Benton purposely directed his tortious activities against

Viola toward the State of Pennsylvania and caused harm to her in this venue. Dudnikov v. Chalk

& Vermillion Fine Arts, 514 F.3d 1063, 2008 U.S. App LEXIS 1870 (2008).

                                         Factual Allegations

        6.      Prior to initiating this litigation, the Parties agreed to an extension of the statute of

limitations of Viola’s claims through a tolling agreement which was still in effect at the time this

litigation was initiated.

                A.      Viola’s Background & Employment History with Temple University
        7.      Beginning in 2004, Viola worked as a journalism professor in the Klein College of

Media and Communication at Temple University (“Temple”).

        8.      Prior to incidents that gave rise to this lawsuit, Viola enjoyed a successful career

with Temple and had cultivated a stellar reputation in the Temple community which included

earning a faculty merit award for exceptional performance on April 23, 2018.


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       9.      Viola worked under a teaching contract that was renewed periodically throughout

her employment without issue.

       10.     The criteria Temple used to evaluate Viola’s job performance as a professor did not

include her personal political opinions or beliefs. As an employee, Viola was not subject to any

restrictions concerning her use of online platforms outside of the workplace to comment on

political matters or to express her opinions under her own name or through a pseudonym.

       11.     Ms. Viola never received feedback from her students, colleagues or employer that

she performed her professional duties in a manner that showed favoritism or disparate treatment

toward any ethnic, racial, religious or political group.

               B.      Defendant Benton’s Background & Employment at Harvard
                       University’s Nieman Lab
       12.     According to his description on the Nieman Lab website, Defendant Benton is the

founder and “director of the Nieman Journalism Lab.” His journalistic achievements include

winning the “Philip Meyer Journalism Award from Investigative Reporters and Editors.” At all

times relevant herein, Defendant Benton has also maintained a website, joshuabenton.com, which

includes a link to his Twitter account and states the following: “Joshua Benton is a journalist,

writer, and editor. By day, and often by night, he is director of the Nieman Journalism Lab

at Harvard University, an effort to help journalism adapt to the Internet age, which he founded

in 2008.” (Emphasis added). A copy of Benton’s descriptions from both websites are attached

hereto as Exhibit A.

       13.     At all times relevant herein, Defendant Benton operated a Twitter account with

thousands of followers using the handle, @jbenton which he used to publish tweets daily about

topics concerning journalism and frequently retweeting articles with commentary and information

from various news platforms, including Nieman Lab.

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       14.     At all times relevant herein, as an employee of Harvard, Defendant Benton was

subject to Harvard’s Social Media Policy (attached hereto as Exhibit B) which states in part,

“Unless specifically authorized to speak on behalf of Harvard or a University department,

school or unit, you must state that the views expressed are your own. On Twitter, for example,

you might consider using a disclaimer in the account profile’s “Bio” section: "Tweets are my own

and do not reflect the views of my employer."(Emphasis Added).

       15.     At all times relevant herein, Defendant Benton’s Twitter account description did

not include any disclaimer and stated, “I run @niemanlab at Harvard.” (Emphasis Added).

A copy of Defendant Benton’s Twitter account description as it appeared on May 4, 2018 is

attached hereto as Exhibit C.

       16.     At all times relevant herein, upon information and belief, Defendant utilized his

Twitter account as a part of his job responsibilities to further Harvard’s interest of increasing

awareness of his role at Nieman Lab, to promote the Nieman Lab brand through discussion of

Nieman Lab stories and other news events, and to interact with other journalists and readers on

behalf of Nieman Lab as its director and founder.

               C.     Defendant Harvard University Used the Comment Sharing Platform
                      Disqus on Nieman Lab’s Website & is Bound By its Terms of Use &
                      Comment Moderation Policies
       17.     Nieman Lab uses an online public comment sharing platform called Disqus to allow

readers to post comments to articles on the website.

       18.     Disqus is an application used by thousands of websites which provides a platform

for users to post comments on a website’s blog articles by creating an account using a name (the

“Display Name”) and email address.




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        19.     Disqus permits users to choose their own Display Name which is visible to the

public whenever they post a comment through the platform. Multiple users may choose to use the

same Display Name which may be pseudonymous.

        20.     Visitors to any website that utilizes the Disqus platform for comments may click

on the Display Name associated with any comment to see other Disqus comments associated with

that user.

        21.     The email addresses of users who comment on websites using Disqus is accessible

by the website administrators also known as a moderator (“Moderator”), but it is not accessible by

third parties or visible to the general public.

        22.     Websites that utilize Disqus as a comment platform are subject to the Basic Rules

for Discus-Powered Sites (the “BRDPS”), attached hereto as Exhibit D. The BRDPS state that

“user information is for moderation purposes only” and “distribution of personally identifiable

information is prohibited.” The BRDPS also prohibit “intimidation” of Disqus users.

        23.     Additionally, in its support forums, Disqus has addressed the role of moderators

(attached hereto as Exhibit E) and assured its users that while their email addresses are visible to

moderators, “they cannot use it for any purpose other than moderation” and “contacting you

directly is against the Terms of Service and often illegal too.”

        24.     Websites like Nieman are also subject to the Basic Rules for Disqus (the “BRD”)

(collectively with the BRDPS, “the Disqus Policies”) attached hereto as Exhibit F which prohibit

“posting personally identifiable information” and “targeted and systematic harassment of people.”

        25.     Users of Disqus must agree to the terms of the BRD, when creating an account prior

to posting any comments. Viola was aware of the terms of the BRD, agreed to them and relied on

them when publishing comments through the Disqus platform.



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          26.   As a website that uses the Disqus platform, Nieman Lab, and by extension

Defendant Harvard and Defendant Benton as, a Moderator, are bound by the BRDPS.

          27.   Viola maintained a profile on Disqus under the pseudonymous Display Name

“truthseeker” (the “Truthseeker Account”). No publicly identifying information regarding Viola

was disclosed through the use of this pseudonym and Viola chose to remain anonymous while

using the Truthseeker Account.

                D.     Defendant Harvard’s Privacy Policy Browsewrap Agreement

          28.   The Nieman Labs website is also bound by Defendant Harvard’s privacy policy

(the “Harvard Privacy Statement”) which has been in effect throughout the relevant time period,

and is linked to directly on every page of the Nieman Lab website from a link labeled “Privacy”

and located at the following URL: https://www.harvard.edu/privacy-statement. It is attached

hereto as Exhibit G. The Nieman Labs website does not provide users with any other privacy

policy.

          29.   The Harvard Privacy Statement is a browsewrap agreement with users which states

that “[b]y using this website you are consenting to our collection and use of information in

accordance with this privacy policy.”

          30.   The Harvard Privacy Statement also states, unequivocally, that while user data may

be collected, users of the website will “remain anonymous.”

          31.   Anonymous speech and online privacy are crucial and protected rights of which

Defendant Harvard University is well aware and has staunchly advocated and defended publicly

over many years. See, e.g. The Harvard Cyberlaw Clinic website for reference:

https://bit.ly/2PAo1fc (“Speech, Media Law & First Amendment Practice Areas”);

https://bit.ly/2wLtHvR (“Protecting Anonymous Speech Under California’s Anti-SLAPP Law”);

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and   https://bit.ly/2wMrwZ7 (“Citizen Media Law Project and Cyberlaw Clinic Lead Amicus

Effort Promoting Rights of Anonymous Online Speakers in IL”).

       32.     Viola read and was aware of the Harvard Privacy Statement and relied on its

promise of anonymity when using the Nieman Lab website and commenting on articles.

       33.     Viola’s reliance was reasonable and expected under the terms of the Harvard

Privacy Statement and Disqus’s BRDPS which she understood were binding for use of the Nieman

Lab website.

       34.     At no time did Viola consent to the use of her email address for the purpose of

discovering other identifying information about her.

               E.     Defendant Benton’s Doxxing Attack against Viola

       35.     On May 4, 2018, Nieman Lab published an article (“the Article”) to its website

titled, “People who are delusional, dogmatic, or religious fundamentalists are more likely to

believe fake news.” The article, attached hereto as Exhibit H can be found at the following URL:

https://www.niemanlab.org/2018/05/people-who-are-delusional-dogmatic-or-religious-

fundamentalists-are-more-likely-to-believe-fake-news/.

       36.     The same day, Viola anonymously posted a comment to the Article using the

Truthseeker Account. Viola’s comment was critical of both the Article itself and Nieman Lab. It

was posted in response to another critical comment published under the Display Name, “Alexander

Best.” The Alexander Best comment is attached hereto as Exhibit I and stated the following:

               This is embarrassing journalism. Your headline suggests people
               who have religious views that are perceived as "fundamentalist" are
               equivalent to people who are "delusional." Your caveats on
               causation and correlation as the fine print does not elevate the sense
               that this article is just another illustration of "fake" news. And that
               is what is so sad about the entire topic. "Serious" Media have chosen
               the same methodologies of the people they disdain. I expect it from

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                 soap opera CNN but Nieman? If you are a lab for the future of
                 journalism, that is really worrying. I appreciate the daily briefings.
                 But this undermines the credibility of what in the inevitable speed
                 of life and glut of data, is often just a fleeting headline. This makes
                 me more likely to delete or unsubscribe. It is not just the poor quality
                 of the journalism it is what it say about the Editor of this section.
                 Eye, ball, off.


       37.       Viola’s Truthseeker Account comment, is attached hereto as Exhibit J and stated

the following:

                 I am a journalism professor at a major east coast university and I
                 completely agree with you. I follow Nieman but this is an article
                 designed to insinuate that 1) Trump supporters who happen to be
                 religious are delusional 2) conservative media that don’t tout the
                 democrat party talking points are disseminating ‘fake news.’ I will
                 no longer use Nieman as a source.


       38.       In his capacity as Director of Nieman Lab, Defendant Benton was a Moderator and

had administrative access to view Viola’s email address associated with the Disqus comment

posted to the Article. Under the Disqus Policies, Defendant Benton’s access to Viola’s email

address was supposed to be only for the purpose of moderation only, not for any journalistic

purpose or reason.

       39.       Defendant Benton read the “Truthseeker” critical comment on the Nieman Lab

website, and improperly used the administrative access granted by his employment as the Nieman

Lab Director to view the email address associated with the Truthseeker Account. Defendant

Benton’s actions to view the email address were taken during the course and scope of his

employment for journalistic purposes to further the interests and purposes of his employer.

Defendant’s actions harmed Viola and violated her privacy and right to express her opinions

anonymously under the First Amendment.




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       40.     After viewing the email address, Defendant Benton then used this information to

seek out additional details to discover Viola’s true identity and the identity of her employer and

professional colleagues, including her Dean. Defendant Benton’s actions to use the administrative

access to Viola’s email address granted by Defendant Harvard to discover Viola’s true identity

and the identity of her employer and professional colleagues were taken during the course and

scope of his employment as a journalist to further the purposes of his employer.

       41.     By abusing the administrative access granted by his employer to view Viola’s email

address, Defendant Benton was also able to identify previous anonymous comments posted using

the same Truthseeker Account on other Disqus powered websites. Defendant Benton’s actions to

use the administrative access to Viola’s email address granted by Defendant Harvard to identify

previous comments were taken during the course and scope of his employment as a journalist to

further the purposes of his employer. Defendants’ actions harmed Viola and violated her privacy

and right to express her opinions anonymously under the First Amendment.

       42.     Defendants’ actions to investigate Ms. Viola’s private concerns without authority

or her consent, violated Ms. Viola’s right to keep her name and employer separate from the

anonymous Truthseeker account which caused her great mental and emotional distress.

       43.     Defendant Benton did not contact Viola to confirm that she was the author of the

comments published by the “Truthseeker” account, to ask if the comments reflected her actual

beliefs about the subject matters referenced or to provide her with an opportunity to respond.

Defendant acted with reckless disregard for whether the information he gathered was truthful and

accurate and did so intentionally.

       44.     In retaliation for the Truthseeker Account comment published to Nieman Lab,

Defendant Benton sought to exact revenge and inflict harm on Viola personally and professionally



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by publishing a barrage of harassing and disparaging statements about her in a series of Tweets to

his Twitter account (the “Twitter Statements”) which revealed her identity and associated her with

the Truthseeker Account. The Twitter Statements are attached hereto as Exhibit K. Defendant

Benton’s actions to publish the Twitter Statements were done on behalf of Nieman Lab, for

journalistic purposes, and were taken during the course and scope of his employment as a journalist

to further the purposes of his employer.

       45.        Upon information and belief, Defendant Benton’s animus toward Viola was

motivated by his disdain for, and disagreement with, right leaning political views, such as those

expressed by the Truthseeker Account and his desire to see her, harassed publicly by hundreds of

people, fired from her job, and have her censured.

       46.        Neither Viola’s identity in association with the Truthseeker Account nor her

identity as it related to her comment to the Article was of legitimate public interest or newsworthy.

Viola’s public opinions are not taken into account or used as a criterion to evaluate her professional

competence or evaluate her job performance at Temple University.

       47.        Defendant Benton willfully and intentionally named Viola in his Twitter

Statements to criticize, embarrass, and otherwise harass Viola repeatedly.

       48.        The Twitter Statements also included mentions directed to the usernames of other

Twitter users. Twitter mentions are a form of direct public communication with other Twitter users

and generate a notification from Twitter to the recipient that their username has been included

within a tweet.

       49.        Defendant Benton directed the mentions within the Twitter Statements to the

Twitter Accounts of Viola’s employer, Temple University, the Dean of Temple University’s Klein




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College of Media and Communication, David Boardman, and two Temple University journalism

professors, Aron Pilhofer and Brian Creech.

       50.      Defendant Benton directed the mentions within the Twitter Statements to Ms.

Viola’s employer and colleagues with the intent of injuring her business relationships and

damaging her prospects for continued employment.

       51.      The Twitter Statements included the following:

             a. “I think that this attitude — permanently rejecting a news source because it
                accurately reports something you don't like — is exactly what you want in a
                journalism professor, yes? Also, spell our name right, Francesca Viola of
                Temple University.”

             b. “For what it’s worth, Temple journalism professor Francesca Viola also believes
                Seth Rich was murdered by Hillary Clinton and the DNC”;

             c. “She also believes @DRUDGE_REPORT has sold out to the libs”;

             d. “She’s also not a particular fan of Muslims, it seems”;

             e. “She seems to lack a basic understanding of the First Amendment and is upset that
                @PhillyInquirer doesn’t ‘give readers a chance to express any anti-Muslim or anti-
                immigrant sentiments’ or comment on ‘crimes involving African Americans”;

             f. “Oh, she also believes that Trump actually won the *real* popular vote, which was
                warped by ‘some illegal votes cast in California”; and

             g. Basically, Francesca Viola of @TempleUniv is pretty much exactly what you want
                in a journalism professor. Cc: @dlboardman @pilhofer @brcreech.

       52.      One of the comments attributed to Viola in the Twitter Statements was purportedly

published under the pseudonym “truthseeker” to The Gateway Pundit article titled, “Muslims Take

Over Street- Start Praying in Front of Trump Tower New York for Ramada…” (the “Muslim

Comment”). The Muslim Comment stated, “Scum. Deport them. They hate us. Get rid of them.”




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       53.     Viola specifically denies publishing this comment and it is not consistent with her

public or private views of Muslims. Defendant’s publications falsely attributing the Muslim

comment to Viola is false and constitutes defamation per se.

       54.     Additionally, in order to harass Viola and harm her reputation, Defendant Benton

selectively published the Twitter Statements in a manner which created the false impression that

she is a racist, Islamophobic, and not competent to perform her job.

       55.     According to Merriam-Webster.com, this practice of publicly identify[ing] or

publish[ing] private information about (someone) especially as a form of punishment or revenge”

is defined as “doxxing.”

       56.     Defendant Benton’s efforts to dox Viola were a violation of the Harvard University

Privacy Statement, the BRD and the BRDPS.

       57.     Defendant Benton’s Twitter Statements were published to his thousands of Twitter

followers and drew numerous comments, including from other journalists, many of which were

critical of his doxxing of Viola.

       58.     Upon information and belief, after the Twitter Statements were published,

Defendant Benton met with his employer to discuss his actions concerning Viola. During that

meeting, Harvard acknowledged that he had been acting in the course and scope of his employment

to investigate and publish what he believed was a news story. However, his actions did not comply

with Nieman’s Journalistic standards. Accordingly, Defendant Harvard along with Defendant

Benton, jointly crafted a statement of public apology for Defendant Benton to publish.

       59.     Upon information and belief, no further action was taken by Defendant Harvard to

discipline Defendant Benton or disavow his unlawful acts against Viola. Defendant Harvard




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ratified Defendant Benton’s behavior as being in the course and scope of his employment and in

the interests of his employer.

       60.     Defendant Benton published the apology drafted by both him and Defendant

Harvard without any retraction on Twitter, attached hereto as Exhibit L, on May 9, 2018 which

stated the following:

               In a series of tweets on Friday, May 4, I wrote about an anonymous
               commenter to a Nieman Lab story. I identified her and her place of
               work and shared comments posted from the same account on other
               websites. By revealing such details without making an effort to
               contact her and seek confirmation and explanation, and otherwise
               adhere to rigorous reporting methods, the tweets did not meet
               Nieman’s journalistic standards. I apologize and regret my error in
               judgment.


       61.     Despite his acknowledgment that his actions to doxx Viola were “an error in

judgment,” Defendant Benton did not remove or retract the Twitter Statements and they remain

online and accessible to anyone.

       62.     Defendant Benton’s doxxing of Viola also drew immediate media attention which

generated numerous articles about Viola that appeared in print and online as well as broadcast

news coverage.

       63.     Viola immediately became a social pariah at Temple and within her community.

Several of her colleagues demanded that she be fired and published an editorial critical of Viola in

the Temple University School newspaper. Viola was also ostracized during faculty meetings and

on campus.

       64.     Over the course of several days and weeks, Viola was also bombarded by dozens

of harassing and disturbing emails, phone calls, and messages. Both from news media and

members of the public. The harassment and intrusive effect into Viola’s personal life and day to


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day activities was so severe and over whelming, she received calls from the Temple Campus

Police, her Dean, and employer, to inquire about her safety and well-being.

       65.         As a result, Viola lost her job at Temple and suffered extreme humiliation, fear for

her personal safety, a loss of her hard-earned reputation, and severe emotional distress for which

she has sought counseling.

                     Count I: Invasion of Privacy-Publication of Private Facts

       66.     Viola realleges and reavers the Preceding Paragraphs as if fully rewritten and

restated herein.

       67.     Pursuant to the BRDPS, the BRD, as well as the Privacy Statement maintained by

Defendant Harvard on its own website, Viola had a reasonable expectation that her identity would

remain anonymous while posting a comment to the Article using a pseudonymous Discus account.

       68.     Prior to Defendant Benton’s doxxing of Viola, her association with the Truthseeker

Account had not been made public.

       69.     Defendant Benton intentionally abused his administrative access to Viola’s email

address to discover the private fact of her true identity in association with the Truthseeker Account.

       70.     Defendant Benton proceeded to take this wrongly obtained personal information

and publish the Twitter Statements online using his Twitter profile.

       71.     Defendant Benton did so to humiliate, harass, and cause harm to Viola.

       72.     The subject of the comments published by the Truthseeker Account was a matter

of private opinion and was not a matter of public concern.

       73.     The posting of her private identity and information regarding her employment and

employer were highly offensive to Viola because she reasonably expected her identity to remain

private and her speech was anonymous.

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        74.    Defendant Benton’s actions have caused Viola outrage, great mental anguish,

humiliation, harm her professional standing and damages damages in an amount exceeding

Seventy-Five Thousand Dollars ($75,000.00), with the exact amount to be proven at trial.

        75.    Defendant Benton undertook these actions during the course and scope of his

employment with Defendant Harvard.

                   Count II: Invasion of Privacy-Intrusion upon Seclusion

        76.    Viola realleges and reavers the preceding Paragraphs as if fully rewritten and

restated herein.

        77.    On or about May 4, 2018, Defendant Benton intentionally, and without

authorization from Viola, the Harvard Privacy Statement or the Disqus Policies, invaded the

privacy of Viola by abusing his administrative access granted by his employer to view the email

address associated with the Truthseeker Account and maliciously investigate to discover Viola’s

identity.

        78.    Viola never consented to Defendant Benton accessing her email account for the

purpose of discovering other identifying information about her, her employer or colleagues.

        79.    At the time of the intrusion, as the website administrator and Director of Nieman

Lab, Defendant Benton was acting within the course and scope of his employment with Defendant

Harvard University.

        80.    This abuse of administrative access was highly offensive to Viola as she had a

reasonable expectation of privacy in posting comments through the Truthseeker Account on

Disqus.

        81.    The Truthseeker Account created by Viola, and the subsequent comments, were

private matters and not of public concern.

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        82.        In furtherance of the intrusion, Defendant Benton intentionally published the

information he accessed about Plaintiff in the barrage of Twitter Statements directed at Viola to

repeatedly violate her privacy in order to harass and otherwise humiliate Viola.

        83.        As a result of Defendant Benton’s harassment, Viola was then subjected to media

coverage, disturbing phone calls and emails which further intruded on her privacy and was a form

of harassment.

        84.        Defendant Benton’s extreme actions to intrude on Viola’s solitude were outrageous

and highly offensive to Plaintiff and were also criticized by others who read the Twitter Statements.

        85.        These intrusions by Defendant Benton have caused Viola outrage, great mental

anguish, humiliation, harm her professional standing and damages with the exact amount to be

proven at trial.

        86.        Defendant Benton undertook these actions during the course and scope of his

employment with Defendant Harvard.

        87.        As a result of the repeated intrusions into her privacy, Viola has suffered great

mental anguish, harm and damages in an amount exceeding Seventy-Five Thousand Dollars

($75,000.00), with the exact amount to be proven at trial.

                             Count III: Invasion of Privacy-False Light

        88.        Viola realleges and reavers the preceding Paragraphs as if fully rewritten and

restated herein.

        89.        Through publication of the Twitter Statements to his thousands of followers,

Defendant Benton gave widespread publicity to matters concerning Viola that unreasonably place

Viola in a false light before the public.




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        90.     By his own admission, Defendant Benton made no effort to contact Ms. Viola to

confirm her association with the comments published on the pseudonymous Truthseeker account,

to inquire about her actual beliefs concerning the matters discussed in comments, or to provide her

with an opportunity to respond.

        91.     Defendant Benton selectively published the Twitter Statements including the

Muslim Comment in a manner to give the false impression that Viola is racist, Islamophobic and

not competent to perform her job and to this day, the Twitter Statements remain published without

retraction.

        92.     The false light in which Viola has been placed would be highly offensive to a

reasonable person and continues to be highly offensive to Viola because she is not a racist or

Islamophobic.

        93.        Defendant Benton knew that the Twitter Statements placed Viola in a false light or

acted with reckless disregard as to the false impression which they created.

        94.     As a result of the false light in which she has been placed, Viola has suffered great

mental anguish, harm and damages in an amount exceeding Seventy-Five Thousand Dollars

($75,000.00), with the exact amount to be proven at trial.

                                           Count IV: Libel

        95.     Viola realleges and reavers the preceding Paragraphs as if fully rewritten and

restated herein.

        96.     Defendant Benton intentionally published the Muslim Comment as part of the

Twitter Statements about Viola on the Internet and attributed the Muslim Comment to Viola as a

representation that she believes all Muslims are “scum” and should be deported without confirming

that she authored it or that it represented her beliefs about Muslims.

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        97.        The Twitter Statements constitute libel per se because they falsely attribute the

Muslim Comment to Viola to portray her as racist and Islamophobic, to impugn Viola in her trade

and profession and for the purpose of damaging Plaintiff’s reputation and standing in her

community.

        98.        In furtherance of his efforts, Defendant Benton not only published the Twitter

Statements including the Muslim Comment to his thousands of followers, he maliciously included

Twitter mentions to the Twitter accounts of her employer, her school dean, and her colleagues, in

order to deter them from associating with her.

        99.        Defendant Benton authored and published the Twitter Statements on the Internet

without privilege or authorization.

        100.       The Twitter Statements were read by visitors of the Internet throughout the State of

Pennsylvania and the United States, including but not limited to Viola’s employer, her colleagues,

her students, and other members of her community.

        101.       Viola is informed and believes and, upon that basis, assert that the Twitter

Statements were written and published with malice in that those publications were made with

knowledge of their falsity or with reckless disregard as to the same.

        102.       As a direct and proximate result of Defendant Benton’s actions, Viola has suffered

significant reputational harm and sustained actual damages including, but not limited to, mental

anguish, loss of income, lost productivity, expenses incurred, and loss of intangible assets in an

amount exceeding Seventy-Five Thousand Dollars ($75,000.00) with the exact amount to be

proven at trial.

                                 Count V: Defamation by Implication




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       103.    Viola realleges and reavers the preceding Paragraphs as if fully rewritten and

restated herein.

       104.    The Twitter Statements constitute defamation by implication as they are

intentionally misleading concerning the character and beliefs of Viola and selectively published

for the purpose of destroying Viola’s reputation and standing in the community by inferring that

she is a racist, Islamophobic and not competent to perform her job.

       105.    In furtherance of his efforts, Defendant Benton not only published the Twitter

Statements to his thousands of followers, he maliciously included Twitter mentions to the Twitter

accounts of her employer, her school dean, and her colleagues, in order to deter them from

associating with her.

       106.    The Twitter Statements constitute libel per se as they are false, defamatory and

impugn Viola in her trade and profession.

       107.    Defendant Benton authored and published the Twitter Statements on the Internet

without privilege or authorization.

       108.    The Twitter Statements were read by visitors of the Internet throughout the State of

Pennsylvania and the United States, including but not limited to Viola’s employer, her colleagues,

her students, and other members of her community.

       109.    Viola is informed and believes and, upon that basis, assert that the Twitter

Statements were written and published with malice in that those publications were made with

knowledge of the false impression they would create, or with reckless disregard as to the same.

       110.    As a direct and proximate result of Defendant Benton’s actions, Viola has suffered

significant reputational harm and sustained actual damages including, but not limited to, mental

anguish, loss of income, lost productivity, expenses incurred, and loss of intangible assets in an



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amount exceeding Seventy-Five Thousand Dollars ($75,000.00) with the exact amount to be

proven at trial.

                                    Count VI: Breach of Contract

        111.       Viola realleges and reavers the preceding Paragraphs as if fully rewritten and

restated herein.

        112.       On May 4, 2018, and at all times material herein, the website niemanlab.org was

governed by the Privacy Statement maintained by Defendant Harvard on its main website.

        113.       The Privacy Statement informs users that by use of the Nieman Lab website they

are consenting to Harvard’s collection and use of information in accordance with the Privacy

Statement and assures users that while data may be collected by the website and potential third

parties, the user’s identity will remain anonymous.

        114.       The Privacy Statement also assures users that the data collected will not be shared

without the user’s permission.

        115.       Nieman Lab utilized the third party Disqus to administer and monitor the comments

section on niemanlab.org and was bound by the BRDPS which state that user information is for

moderation purposes only and prohibit the distribution of personal identifiable information and the

intimidation of users of Disqus services.

        116.       Users of Disqus agree to the BRD prior to posting any comments and pursuant to

the BRD, the distribution of personal identifiable information and targeted harassment is

prohibited.

        117.       Viola agreed to the terms of and reasonably relied upon the assurances of the

Harvard Privacy Policy and the Disqus Policies when accessing and commenting on the website.




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       118.    Defendant Benton breached the contracts created by both the Harvard Privacy

Policy and the Disqus policies by abusing his access as administrator to invade Viola’s privacy

and violate her right to anonymity by publishing her identity and identifying information about her

employer and colleagues on his Twitter account and targeting harassment toward her.

       119.    At all times Defendant Benton was acting within the course and scope of his

employment with Defendant Harvard.

       120.    As a result of Defendants’ breach of these contracts, Viola has suffered loss of

income, lost productivity, expenses incurred, and loss of intangible assets in an amount exceeding

Seventy-Five Thousand Dollars ($75,000.00) with the exact amount to be proven at trial.

                                  Count VII: Promissory Estoppel

       121.    Viola realleges and reavers the preceding paragraphs as if fully rewritten and

restated herein.

       122.    By posting the promise that a user’s identity will be kept anonymous while users

are accessing their website, Defendant Harvard created in users a reasonable reliance of anonymity

to promote the use of its website.

       123.    Viola relied, to her detriment, upon that promise of anonymity and accessed the

website and comments section under a pseudonym.

       124.        Viola’s reliance was reasonable and foreseeable.

       125.    Defendant Benton intentionally breached this promise by posting Viola’s personal

information in the Twitter Statements.

       126.    Defendant Benton was acting within the course and scope of his employment with

Defendant Harvard at the time he breached this promise.




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         127.      As a direct and proximate result of this broken promise, Viola has suffered damages

in an amount exceeding Seventy-Five Thousand Dollars ($75,000.00) with the exact amount to be

proven at trial.

                       Count VIII: Intentional Infliction of Emotional Distress

         128.      Viola realleges and reavers the preceding paragraphs as if fully rewritten and

restated herein.

         129.      Defendant Benton maliciously published the Twitter Statements to his thousands

of Twitter followers for the purpose of intimidating and harassing Viola, disrupting her

relationship with her employer, and destroying her reputation and standing in the community

because he disagreed with viewpoints she expressed anonymously online.

         130.      Defendant Benton’s actions were undertaken with the intent to cause, or in

disregard of a substantial probability of causing severe emotional distress to Viola.

         131.      It is highly foreseeable that a causal connection would exist between the deliberate

and malicious targeted harassment that Defendant directed toward Viola and the resulting injury

to Viola of severe emotional distress.

         132.      As a direct and proximate result of Defendant Benton’s intentional infliction of

emotional distress, Viola has suffered physical and mental harm and other damages in an amount

exceeding Seventy Five Thousand Dollars ($75,000.00) with the exact amount to be proven at

trial.

                    Count IX: Tortious Interference with Contractual Relations

         133.      Viola realleges and reavers the preceding paragraphs as if fully rewritten and

restated herein.




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         134.   Viola had an existing contractual relationship with her employer, Temple

University and had a reasonable expectation of a future professional relationship with Temple

based on her excellent job performance and previous renewals of her teaching contract.

         135.   Defendant Benton was aware of Viola’s existing professional relationship with

Temple University.

         136.   Defendant Benton intentionally and improperly interfered with Viola’s existing

relationship with her employer by unlawfully authoring and publishing the Twitter Statements

without justification.

         137.   As a direct and proximate result of Defendant Benton’s unlawful interference,

Viola lost her teaching position with Temple University and has suffered damages in i an amount

exceeding Seventy-Five Thousand Dollars ($75,000.00) with the exact amount to be proven at

trial.

WHEREFORE, Plaintiff Francesca Viola, demands judgment against Defendants, as follows:

         (a)    Permanent deletion of the Twitter Statements which name or make reference to
                Viola.

         (b)    A statement posted to Defendant Benton’s Twitter account and the Nieman Lab
                website admitting the breach of the websites’ user agreements and a public apology
                to Viola.

         (c)    Actual and/or compensatory damages, and punitive damages where available, in an
                amount exceeding $75,000.00 with the exact about to be proven at trial;

         (d)    Costs of this action, reasonable attorney fees, and pre- and post-litigation interest
                at the maximum rate provided by law;

         (e)    For any and all other relief to which the Court determines Plaintiff is entitled.




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                                               Respectfully submitted,

                                               MINC LLC

                                               /s/ Aaron M. Minc
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                                               Attorney for Plaintiff, Francesca Viola



                                  CERTIFICATE OF SERVICE


        I certify that, on this 12 day of June 2020, a true and correct copy of the foregoing was
filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. Parties may access this filing
through the Court’s system.


                                               /s/ Aaron M. Minc
                                               Aaron M. Minc (0086718)
                                               Dorrian H. Horsey (0081881)
                                               Attorneys for Plaintiff, Francesca Viola


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